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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

  DAYTON AREA CHAMBER OF
  COMMERCE, et al.,
                  Plaintiffs,                             No. 3:23-cv-00156-MJN-PBS
                  v.                                       Judge Michael J. Newman
  XAVIER BECERRA, et al.,                             Magistrate Judge Peter B. Silvain, Jr.
                  Defendants.



                PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF
                          SUPPLEMENTAL AUTHORITY

       The July 3 decision of the district court in Boehringer Ingelheim Pharmaceuticals, Inc. v.

Becerra, 23-cv-01103 (D. Conn.) (“BI”), should have no effect on this Court’s decision in this

case, for several reasons. See Dkt. 99 (Defendants’ notice of supplemental authority regarding

BI); Dkt. 99-1 (BI slip op. (“Op.”)).

       First, unlike Plaintiffs in this case, BI did not challenge the constitutionality of the statute

under the Constitution’s separation of powers or as exceeding Congress’s enumerated powers.

       Second, BI’s analysis improperly conflated the question whether participation in the

Inflation Reduction Act (“IRA”) scheme at issue in this case is “voluntary” with whether

participation in the pre-IRA Medicare program was voluntary. For example, the court described

the “leading case” on the voluntariness issue as Garelick v. Sullivan, 987 F.2d 913 (2d Cir.

1993), a 30-year-old Takings Clause case that long predates the Supreme Court’s decision in

National Federation of Independent Businesses v. Sebelius, 567 U.S. 519 (2012) (NFIB), and that

addresses a relatively minor modification to Medicare reimbursement bearing no resemblance to

the transformation wrought by the IRA. Op. 21. Under NFIB, it is clear that participation in



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Medicare as transformed by the IRA is not voluntary. Compare, e.g., ECF 64 at 2, 4-5, 21

(emphasizing that regardless of whether participation in Medicare was or is voluntary,

participation in the IRA scheme is not). As Judge Elrod observed at oral argument in Nat’l

Infusion Ctr. Ass’n v. Becerra, 24-50180 (5th Cir. May 1, 2024): “This is not a challenge to

Medicare reimbursement, this is a challenge to a novel, unprecedented price-setting program in

an industry [where] the government is the 800-pound gorilla.” Oral Argument at 21:35–21:54.

Moreover, the court did not address Michigan Bell Tel. Co. v. Engler, 257 F.3d 587 (6th Cir.

2001), which is binding precedent here.

       Even so, for all of these errors and omissions, the BI court correctly saw through the

government’s claim that companies can escape the IRA by “divesting” their interests in selected

drugs. Op. 19–20. As the court explained, “[t]he government cannot evade a Fifth Amendment

challenge by requiring manufacturers to choose between losing any property rights they have

through government appropriation and losing them through divestment,” and indeed, “the

Supreme Court has rejected this notion.” Id. at 19 (citing Horne v. Dep’t of Agriculture, 576 U.S.

350, 363 (2015)).

       Third, in addressing the First Amendment issue, the opinion glossed over the argument

that requiring manufacturers to use deceptive terms such as “agreement” and “maximum fair

price” is compelled speech that is unnecessary to the operation of the IRA’s price controls. While

acknowledging that “the IRA requires BI to communicate in various ways,” the opinion dismissed

this forced speech as merely “incidental” to “typical price regulations.” Op. 31. As Plaintiffs here

have explained, the reality is that the IRA is “‘more than a mine-run price regulation’” because it

combines price controls with gratuitous speech controls. Dkt. 90 at 53 (quoting Expressions Hair

Design v. Schneiderman, 581 U.S. 37, 47-48 (2017)). Tellingly, the government has never

pointed to any similar speech controls in a price-regulation scheme—let alone controls that have

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been upheld against a First Amendment challenge.

        Fourth, with respect to the unconstitutional-conditions doctrine, the BI court expressed

concern that applying it in this context would deprive the government of “the same leeway as

private firms when it participates in the market in its proprietary capacity.” Op. 37. But as Plaintiffs

have emphasized, “the IRA is plainly an exercise of sovereign regulatory power, not an example of

ordinary market participation.” ECF 90 at 44. No private firm could evade scrutiny for wielding its

dominance over nearly 50% of the market the way the government does under the IRA (including by

demanding that manufacturers turn over extensive confidential business information), and no private

firm could impose an 1,900% “excise tax” penalty on a party for refusing to come to an “agreement.”

Id. The government cannot use its sovereign powers to make itself the “800-pound gorilla” and then

avoid constitutional constraints by claiming to be like any ordinary participant in the market.

        Finally, the district court dismissed the Excessive Fines Clause claim for lack of jurisdiction

because it accepted the government’s dubious claim that a manufacturer “can bring a refund suit after

incurring the [excise] tax on a single transaction” and hope that the IRS will show discretionary

“forbearance with respect to collection” during the pendency of the suit. Op. 43–44. As Plaintiffs

have explained, this idea is “unworkab[le].” ECF 90 at 25–26. The court failed to take into account

the impracticability of cutting off the sale of vital medicines to Medicare beneficiaries, which would

irreparably harm countless Americans as well as manufacturers’ own goodwill. See id. And the court

overlooked that “excise tax” liability will continue to accrue while manufacturers make sales, even if

the IRS condescends to not “immediately collect[]” that liability. Id.

        In sum, the BI opinion should have no impact on this Court’s decision.




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Dated: July 19, 2024                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 19, 2024, a true and correct copy of the foregoing Plaintiffs’
Response to Defendants’ Notice of Supplemental Authority was electronically filed with the Clerk
of Court using the CM/ECF system which will send notification to all counsel of record.

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